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                   Declaration of

1. My name is                                   and I was born in Venezuela. I am a 29-
   year-old man. I am currently detained by ICE at the El Valle Detention Facility in
   Raymondville, Texas.

2. I entered the United States on December 15, 2023.

3. I filed for asylum from Venezuela on September 9, 2024 due to my fear of harm and
   mistreatment from multiple criminal groups, including the Tren de Aragua gang.

4. On February 20, 2025, ICE detained me in front of my wife and stepdaughter at the
   homeless shelter where we were living in Brooklyn, New York. ICE officers did not tell
   me why I was being arrested.

5. ICE detained me at the Moshannon Valley Processing Center in Pennsylvania.

6. I was assigned a free lawyer, Molly Lauterback from Brooklyn Defender Services. I
   learned that my first immigration court date would be on March 12, 2025 and my
   attorney was preparing my case for a bond hearing.

7. On March 9, 2025, I was transferred by plane to the El Valle Detention Facility in Texas.
   There are many other Venezuelans detained at El Valle.

8. On March 12, 2025, the date of my court hearing, no one came to get me for my hearing.
   I was detained at El Valle but not brought to court.

9. On March 14, 2025, myself and a group of people who I believe were also Venezuelan
   were told that we would be moved in preparation for a later flight. While we were
   waiting, we were told that there was a problem and they returned us to detention at El
   Valle.

10. ICE is telling us that we will be taken to the plane on Saturday, March 15th or Sunday,
    March 16th.

11. I am extremely afraid to be returned to Venezuela. I fled Venezuela and requested asylum
    in the United States because I was being extorted and threatened by multiple criminal
    groups including Tren de Aragua.

12. I am not and was not a member of Tren de Aragua. I fear them and need protection from
    them.




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   13. My wife and minor stepdaughter live in the United States. Being separated from them is a
       nightmare.

   14. I swear under penalty of perjury that the forgoing declaration was read back to me in
       Spanish, and that it is true and correct to the best of my knowledge and recollection.

I, Molly Lauterback, swear under penalty of perjury that I am fluent in the English and Spanish
languages, that I read the forgoing declaration to                                  in Spanish,
and that he agreed with its contents.




______________                                      03/14/2025

Name: Molly Lauterback




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